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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WILLIAM NEGRON,                                )
                                               )
       Plaintiff,                              )
                                               )       Case No. 18 C 2701
       v.                                      )
                                               )
                                               )       Magistrate Judge M. David Weisman
REYNALDO GUEVARA, et al.,                      )
                                               )
       Defendants.                             )

                                              ORDER

       The case is before the Court on defendants’ motion to bifurcate the Monell claim and stay
Monell discovery. For the reasons set forth below, the Court grants the motion in part [51].

                                              Discussion
        In his Monell claim, plaintiff alleges that the City has “policies, practices, and customs” of:
(1) “fail[ing] to disclose exculpatory evidence;” (2) “fabricat[ing] false evidence;” (3) “pursu[ing]
wrongful convictions through profoundly flawed investigations;” and (4) failing “to implement
sufficient training or any legitimate mechanism for oversight or punishment” of officers who
engaged in such conduct. (ECF 1 ¶¶ 95-97.)

        Defendants say the Monell claim should be severed for trial from the claims plaintiff asserts
against the individual defendants. See Fed. R. Civ. P. 42(b) (permitting courts to separate claims
for trial “[f]or convenience, to avoid prejudice, or to expedite and economize”). This case,
however, is not on the eve of trial. Thus, whether it is appropriate to sever the Monell claim for
trial and approve the City’s proposed limited consent judgment is not ripe at this time.

        That does not mean, however, that Monell discovery should proceed. See Fed. R. Civ. P.
26(c) (giving courts discretion to limit the scope of discovery or specify the time for discovery).
Though Monell liability is not always contingent on the liability of individual defendants, see
Thomas v. Cook County Sheriff’s Department, 604 F.3d 293, 305 (7th Cir. 2010), a successful
Monell claim still requires a constitutional injury. Plaintiff says defendants violated his
constitutional rights by fabricating evidence and intentionally suppressing exculpatory evidence.
Given these allegations, it is difficult to conceive of a scenario in which the City would be held
liable for these injuries and the individual defendants would not. Thus, in this case, it makes sense
to stay Monell discovery until discovery on the claims against the individual defendants is
completed and any summary judgment motion they may file has been decided. If the individual
defendants do not file a motion for summary judgment, or file one that the District Court decides
in plaintiff’s favor, then Monell discovery can begin.
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         Admittedly, this approach may lead to two rounds of discovery and two summary judgment
motions instead of one. But the discovery process will be more efficient and manageable if the
first round focuses on the alleged fabrication of evidence and suppression of exculpatory evidence
and the second round focuses on the Monell claims. Moreover, structuring discovery in this way
will not hinder any party’s ability to gather evidence in support of their claims or defenses.
Accordingly, the Court stays Monell discovery until further order of the Court.

                                             Conclusion
        For the reasons set forth above, the Court grants in part defendants’ motion to bifurcate the
Monell claim and stay Monell discovery [51]. The motion is granted as to the request for a stay
and in all other respects is denied without prejudice. Monell discovery is stayed until further order
of the Court.

SO ORDERED.                                   ENTERED: February 27, 2020




                                              M. David Weisman
                                              United States Magistrate Judge
